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 1                                                                 HONORABLE RONALD B. LEIGHTON
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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                        Case No. CR04-5350RBL
                               Plaintiff,
12                     v.                                 ORDER
13     KEVIN HARVEY,
14                             Defendant.
15
16
17          THIS MATTER is before the Court on Defendant’s Pro Se Motion to Reduce His Sentence Pursuant

18   to 18 U.S.C. § 3582 [Dkt. #595]. Having considered the entirety of the records and file herein, the Court finds

19   and rules as follows:

20          The defendant was sentenced on March 31, 2006 for distribution, and possession with intent to

21   distribute, cocaine base. His Total Offense Level was 29 and his Criminal History Category was I with a

22   guideline range of 87 to 108 months. Because of the amount of cocaine base involved defendant was

23   sentenced to the statutory mandatory minimum sentence of 120 months. According to the Bureau of Prisons,

24   his projected release date is November 2, 2014.

25          Under Amendment 706, effective November 1, 2007, the base offense level for most cocaine base

26   offenses has been lowered by two levels. Amendment 706 has been made retroactive effective March 3, 2008.

27   Under this amendment, the defendant’s Total Offense Level is now 27, and his guideline range is 70 to 87

28   months. However, the statutory mandatory minimum applicable to the defendant has not changed.


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 1             Jurisdiction to grant a sentence reduction in this case is derived from 18 U.S.C. § 3582(c)(2), which
 2   provides:
 3                     [I]n the case of a defendant who has been sentenced to a term of imprisonment
                       based on a sentencing range that has subsequently been lowered by the
 4                     Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
                       defendant or the Director of the Bureau of Prisons, or on its own motion, the
 5                     court may reduce the term of imprisonment, after considering the factors set
                       forth in section 3553(a) to the extent that they are applicable, if such a
 6                     reduction is consistent with applicable policy statements issued by the
                       Sentencing Commission.
 7
               The language of § 3582(c)(2) provides the court with authorization to reduce a sentence where the
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     applicable “sentencing range” has been subsequently lowered. The amended guideline range is determined by
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     substituting only the retroactive crack cocaine amendment to the guidelines as applied at the original sentencing
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     and all other guideline application decisions for the original sentencing remain unaffected. The Sentencing
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     Commission has not altered, and cannot alter, a statutory mandatory minimum sentence. A reduction in the
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     defendant’s term of imprisonment is not authorized under 18 U.S.C. § 3582(c) and is not consistent with policy
13
     statements if an amendment does not have the effect of lowering the defendant’s applicable guideline range
14
     because of the operation of another statutory provision, i.e., a statutory minimum term of imprisonment. See,
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     United States v. Mullanix, 99 F.3d 323, 324 (9th Cir. 1996).
16
               Because the defendant was sentenced to the statutory mandatory minimum sentence, his sentencing
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     range has not been lowered and this Court is without jurisdiction to reduce his sentence. Defendant’s Motion
18
     to Reduce His Sentence [Dkt. #595] is DENIED.
19
               IT IS SO ORDERED.
20
               The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
21
     pro se.
22
               Dated this 6th day of June, 2008.
23
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25
                                               A
                                               RONALD B. LEIGHTON
                                               UNITED STATES DISTRICT JUDGE
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     ORDER
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